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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

JILL BABCOCK, et al.,

       Plaintiffs,                           Civil Action No. 22-cv-12951

v.                                           HON. MARK A. GOLDSMITH

MICHIGAN, STATE OF, et al.,

     Defendants.
_________________________________/

      STIPULATED ORDER EXTENDING TIME FOR DEFENDANTS
     TO RESPOND TO PLAINTIFFS’ FIRST AMENDED COMPLAINT

       On March 24, 2023, the Court ordered that Plaintiffs shall file their first

amended complaint by April 28, 2023 (ECF No. 33). Based on the agreement and

stipulation of the Plaintiffs and Defendants, as reflected by the signatures of their

counsel below:

       The time for each Defendant to file its response to Plaintiffs’ First Amended

Complaint is extended to May 19, 2023.

       IT IS SO ORDERED.

Dated: April 21, 2023                        s/Mark A. Goldsmith
       Detroit, Michigan                     MARK A. GOLDSMITH
                                             United States District Judge
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      IT IS SO STIPULATED:

      On behalf of our clients, we stipulate to entry of the above order.

Respectfully Submitted,

Dated: April 17, 2023           /s/ with consent Michael W. Bartnik
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Dated: April 17, 2023           /s/ with consent James M. Jernigan
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Dated: April 17, 2023        /s/ with consent Monica N. Hunt
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                        LOCAL RULE CERTIFICATION

      I, Paul S. Magy, certify that this document complies with Local Rule 5.1(a),

including: double-spaced (except for quoted materials and footnotes); at least one-

inch margins on the top, sides, and bottom; consecutive page numbering; and type

size of all text and footnotes that is no smaller than 10-1/2 characters per inch (for

non-proportional fonts) or 14 point (for proportional fonts). I also certify that it is

the appropriate length. Local Rule 7.1(d)(3).




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